                          Case 19-10497-CSS              Doc 2      Filed 03/11/19   Page 1 of 20



                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :    Chapter 11
         CHEF HOLDINGS, INC.                                          :
                                                                      :    Case No. 19-10490 (___)
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :    Chapter 11
         CHEF INTERMEDIATE, INC.                                      :
                                                                      :    Case No. 19-10491 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :    Chapter 11
         CTIF HOLDINGS, INC.                                          :
                                                                      :    Case No. 19-10492 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :    Chapter 11
         CHEF INVESTMENT, LLC                                         :
                                                                      :    Case No. 19-10493 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x




01:24256495.1
                          Case 19-10497-CSS              Doc 2        Filed 03/11/19   Page 2 of 20




         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :      Chapter 11
         CTI FOODS ACQUISITION LLC                                    :
                                                                      :      Case No. 19-10494 (___)
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :      Chapter 11
         CTI FOODS HOLDING CO., LLC                                   :
                                                                      :      Case No. 19-10495 (___)
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :      Chapter 11
         CTI SERVICES CORPORATION                                     :
                                                                      :      Case No. 19-10496 (___)
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :      Chapter 11
         CTI FOODS, LLC                                               :
                                                                      :      Case No. 19-10497 (___)
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x




                                                                  2
01:24256495.1
                          Case 19-10497-CSS              Doc 2        Filed 03/11/19   Page 3 of 20



         ------------------------------------------------------------ x
         In re                                                        :
                                                                      :
         CTI ARLINGTON, LLC                                           :      Chapter 11
                                                                      :
                                                                      :      Case No. 19-10498 (___)
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
                                                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :      Chapter 11
         CTI SAGINAW I, LLC                                           :
                                                                      :      Case No. 19-10499 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :      Chapter 11
         CTI KING OF PRUSSIA, LLC                                     :
                                                                      :      Case No. 19-10500 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :      Chapter 11
         CTI-SSI FOOD SERVICES, LLC                                   :
                                                                      :      Case No. 19-10501 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x




                                                                  3
01:24256495.1
                          Case 19-10497-CSS              Doc 2        Filed 03/11/19   Page 4 of 20



         ------------------------------------------------------------ x
         In re                                                        :
                                                                      :      Chapter 11
         S & S FOODS LLC                                              :
                                                                      :      Case No. 19-10502 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re:                                                       :
                                                                      :      Chapter 11
         CUSTOM FOOD                                                  :
         PRODUCTS HOLDINGS, LLC                                       :      Case No. 19-10503 (___)
                                                                      :
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :      Chapter 11
         CUSTOM FOOD PRODUCTS, LLC                                    :
                                                                      :      Case No. 19-10504 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :      Chapter 11
         LIGURIA HOLDINGS, INC.                                       :
                                                                      :      Case No. 19-10505 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x




                                                                  4
01:24256495.1
                          Case 19-10497-CSS              Doc 2        Filed 03/11/19   Page 5 of 20



         ------------------------------------------------------------ x
         In re                                                        :
                                                                      :      Chapter 11
         LIGURIA FOODS, INC.                                          :
                                                                      :      Case No. 19-10506 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x

                                MOTION OF DEBTORS PURSUANT TO
                           FED R. BANKR. P. 1015(b) FOR ENTRY OF ORDER
                      DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

                          CTI Foods, LLC and its debtor affiliates in the above-captioned chapter 11 cases,

         as debtors and debtors in possession (collectively, the “Debtors”), respectfully represent as

         follows in support of this motion (the “Motion”):

                                                           Background

                          1.       On the date hereof (the “Petition Date”), the Debtors each commenced

         with this Court a voluntary case under chapter 11 of title 11 of the United States Code (the

         “Bankruptcy Code”). The Debtors are authorized to continue to operate their business and

         manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

         Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been appointed

         in these chapter 11 cases.

                          2.       On March 7, 2019, the Debtors executed a restructuring support agreement

         (the “Restructuring Support Agreement”) with (i) members of an ad hoc group (the “Ad Hoc

         Group” and, collectively with other creditors that sign joinders to the Restructuring Support

         Agreement, the “Consenting Creditors”) that hold approximately 74.23% of the outstanding

         principal amount under that certain First Lien Term Loan Agreement, dated as of June 28, 2013


                                                                  5
01:24256495.1
                         Case 19-10497-CSS            Doc 2        Filed 03/11/19     Page 6 of 20



         (as amended, modified, or otherwise supplemented from time to time) and approximately

         25.24% of the outstanding principal amount under that certain Second Lien Term Loan

         Agreement, dated as of June 28, 2013 (as amended, modified, or otherwise supplemented from

         time to time) and (ii) the prepetition equity sponsors (the “Consenting Sponsors”), which own

         or control approximately 94.31% of the outstanding equity interests in Chef Holdings, Inc.

         (which directly or indirectly owns or controls one hundred percent (100%) of the prepetition

         interests in the other Debtors). As a result of additional creditors joining the Restructuring

         Support Agreement, the Debtors now have the support of Consenting Creditors holding

         approximately 78.70% of First Lien Term Loan Claims1 and 52.31% of Second Lien Term Loan

         Claims. The Debtors and the Ad Hoc Group anticipate that the percentages of holders of First

         Lien Term Loan Claims and Second Lien Term Loan Claims that become Consenting Creditors

         will continue to increase in the coming days.

                         3.       Pursuant to the Restructuring Support Agreement, the Consenting

         Creditors agreed to vote in favor of and support confirmation of the Joint Prepackaged Chapter

         11 Plan of Reorganization of CTI Foods, LLC and Its Affiliated Debtors (the “Prepackaged

         Plan”) which, upon implementation, provides for the Debtors to emerge from these chapter 11

         cases substantially de-levered. Prior to the Petition Date, on March 8, 2019, the Debtors

         commenced the solicitation of votes on the Prepackaged Plan through their Disclosure Statement

         for Joint Prepackaged Chapter 11 Plan of CTI Foods, LLC and Its Affiliated Debtors (the

         “Disclosure Statement”) pursuant to sections 1125 and 1126(b) of the Bankruptcy Code.




         1
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
         Prepackaged Plan (as defined below) or the Percy Declaration (as defined below).
                                                               6
01:24256495.1
                         Case 19-10497-CSS         Doc 2       Filed 03/11/19   Page 7 of 20



         Consistent with their obligations under the Restructuring Support Agreement, the Debtors are

         seeking to emerge from chapter 11 on an expedited basis.

                         4.     Additional information regarding the Debtors’ business and capital

         structure and the circumstances leading to the commencement of these chapter 11 cases is set

         forth in the Declaration of Kent Percy in Support of the Debtors’ Chapter 11 Petitions and First

         Day Relief, sworn to on the date hereof (the “Percy Declaration”), which has been filed with the

         Court contemporaneously herewith and is incorporated by reference herein.

                                                     Jurisdiction

                         5.     The Court has jurisdiction to consider this matter pursuant to

         28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference from the United

         States District Court for the District of Delaware, dated February 29, 2012. This is a core

         proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before the Court pursuant to 28

         U.S.C. §§ 1408 and 1409.

                         6.     Pursuant to Rule 9013–1(f) of the Local Rules of Bankruptcy Practice and

         Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

         Rules”), the Debtors consent to the entry of a final order by the Court in connection with this

         Motion to the extent that it is later determined that the Court, absent consent of the parties,

         cannot enter final orders or judgments consistent with Article III of the United States

         Constitution.

                                                  Relief Requested

                         7.     By this Motion, pursuant to Rule 1015(b) of the Federal Rules of

         Bankruptcy Procedure (the “Bankruptcy Rules”) and Local Rule 1015-1, the Debtors request

         entry of an order directing consolidation of their chapter 11 cases for procedural purposes only.

                                                           7
01:24256495.1
                        Case 19-10497-CSS          Doc 2       Filed 03/11/19   Page 8 of 20



                        8.      A proposed form of order granting the relief requested herein is annexed

         hereto as Exhibit A (the “Proposed Order”).

                                             Basis for Relief Requested

                        9.      Bankruptcy Rule 1015(b) provides, in relevant part, that “[i]f . . . two or

         more petitions are pending in the same court by or against . . . a debtor and an affiliate, the court

         may order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). Under section

         101(2) of the Bankruptcy Code, the term “affiliate” means:

                        (A) [an] entity that directly or indirectly owns, controls, or holds
                        with power to vote, 20 percent or more of the outstanding voting
                        securities of the debtor, other than an entity that holds such
                        securities—

                                 (i) in a fiduciary or agency capacity without sole
                                 discretionary power to vote such securities; or

                                 (ii) solely to secure a debt, if such entity has not
                                 in fact exercised such power to vote;

                        (B) [a] corporation 20 percent or more of whose outstanding voting
                        securities are directly or indirectly owned, controlled, or held with
                        power to vote, by the debtor, or by an entity that directly or
                        indirectly owns, controls, or holds with power to vote, 20 percent
                        or more of the outstanding voting securities of the debtor, other
                        than an entity that holds such securities—

                              (i) in a fiduciary or agency capacity without sole
                                  discretionary power to vote such securities; or

                              (ii) solely to secure a debt, if such entity has not in
                                   fact exercised such power to vote . . . .

         11 U.S.C. § 101(2). The Debtors are affiliates of one another because Chef Holdings, Inc. owns,

         either directly or indirectly, 100% of the outstanding voting interests in each of the other




                                                           8
01:24256495.1
                          Case 19-10497-CSS            Doc 2        Filed 03/11/19     Page 9 of 20



         Debtors.2 Accordingly, this Court is authorized to jointly administer these cases for procedural

         purposes.

                          10.     In addition, Local Rule 1015–1 provides, in relevant part, as follows:

                          An order of joint administration may be entered, without notice and an
                          opportunity for hearing, upon the filing of a motion for joint
                          administration . . . supported by an affidavit, declaration or verification,
                          which establishes that the joint administration of two or more cases
                          pending in this Court under title 11 is warranted and will ease the
                          administrative burden for the Court and the parties.

         Pursuant to Local Rule 1015-1, the Debtors have filed the Percy Declaration contemporaneously

         herewith. As set forth in the Percy Declaration, the joint administration of the Debtors’

         respective estates is warranted and will ease the administrative burden for the Court and parties

         in interest.

                          11.     Joint administration of these cases will save the Debtors and their estates

         substantial time and expense because it will remove the need to prepare, replicate, file, and serve

         duplicative notices, applications, and orders. Further, joint administration will relieve the Court

         of entering duplicative orders and maintaining duplicative files and dockets. The United States

         Trustee for Region 3 and other parties in interest will similarly benefit from joint administration

         of these chapter 11 cases, sparing them the time and effort of reviewing duplicative pleadings

         and papers.

                          12.     Joint administration will not adversely affect creditors’ rights because this

         Motion requests only the administrative consolidation of the estates for procedural purposes and

         does not seek substantive consolidation. As such, each creditor will continue to hold its claim

         against a particular Debtor’s estate after this Motion is approved.

         2
           Certain non-Debtor individuals hold non-voting “Profit Units” in Chef Investment, LLC, but all Preferred Units
         and Common Units are held by Chef Holdings, Inc. and CTIF Holdings, Inc.
                                                                9
01:24256495.1
                         Case 19-10497-CSS              Doc 2      Filed 03/11/19        Page 10 of 20



                          13.      The Debtors respectfully request that these cases be administered under

         the following caption:

                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

         ------------------------------------------------------------ x
         In re                                                        :       Chapter 11
                                                                      :
         CTI FOODS, LLC, et al.,                                      :       Case No. 19-10497 (           )
                                                                      :
                                                                      :
                                      1
                           Debtors.                                   :       (Jointly Administered)
         ------------------------------------------------------------ x

         1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, as applicable, are: Chef Holdings, Inc. (8070); Chef Intermediate, Inc. (8653); CTIF Holdings, Inc. (0046);
         Chef Investment, LLC (3918); CTI Foods Acquisition LLC (3918); CTI Foods Holding Co., LLC (8320); CTI
         Services Corporation (2331); CTI Foods, LLC (3673); CTI Arlington, LLC (6103); CTI Saginaw I, LLC (6133);
         CTI King of Prussia, LLC (4771); CTI-SSI Food Services, LLC (8322); S & S Foods LLC (7447); Custom Food
         Products Holdings, LLC (2697); Custom Food Products, LLC (0697); Liguria Holdings, Inc. (8652); and Liguria
         Foods, Inc. (6446). The Debtors’ mailing address is 504 Sansom Blvd., Saginaw, Texas 76179.

                          14.      The Debtors also request that the following notation be entered on the

         docket in each Debtor’s chapter 11 case (other than the chapter 11 case of CTI Foods, LLC) to

         reflect the joint administration of these cases:

                          An order has been entered in this case directing the procedural
                          consolidation and joint administration of the chapter 11 cases of
                          CTI Foods, LLC, et al. The docket in Case No. 19-10497 (        )
                          should be consulted for all matters affecting this case.

                          15.      The relief requested herein is necessary, appropriate, and in the best

         interests of the Debtors, their estates, and all other parties in interest in these cases. Accordingly,

         the Court should authorize the relief requested.

                                                               Notice

                          16.      Notice of this Motion will be provided to (i) the Office of the United

         States Trustee for the District of Delaware; (ii) the holders of the 30 largest unsecured claims
                                                           10
01:24256495.1
                      Case 19-10497-CSS        Doc 2    Filed 03/11/19    Page 11 of 20



         against the Debtors on a consolidated basis; (iii) Davis Polk & Wardwell LLP, 450 Lexington

         Avenue, New York, New York 10017 (Attn: Damian S. Schaible, Esq., Michelle McGreal, Esq.,

         and Stephen D. Piraino, Esq.), counsel to the Ad Hoc Group and Cortland Capital Market

         Services LLC, as DIP Term Loan Agent; (iv) White & Case LLP, 1221 Avenue of the Americas,

         New York, New York 10020 (Attn: Elizabeth Feld, Esq. and Charles Koster, Esq.), counsel to

         the Second Lien Term Loan Agent; (v) Shearman & Sterling LLP, 599 Lexington Avenue, New

         York, New York 10022 (Attn: Joel Moss, Esq. and Jordan Wishnew, Esq.), counsel to Barclays

         Bank PLC, as the DIP ABL Agent; and (vi) Otterbourg P.C., 230 Park Avenue, New York, New

         York 10169 (Attn: Andrew Kramer, Esq. and Allen Cremer, Esq.), counsel to Wells Fargo Bank,

         National Association, as ABL Agent. Notice of this Motion and any order entered hereon will be

         served in accordance with Local Rule 9013-1(m).




                                                       11
01:24256495.1
                       Case 19-10497-CSS         Doc 2    Filed 03/11/19      Page 12 of 20



                        WHEREFORE the Debtors respectfully request entry of the Proposed Order

         granting the relief requested herein and such other and further relief as the Court may deem just

         and appropriate.

         Dated: March 11, 2019
                Wilmington, Delaware

                                             /s/ Jaime Luton Chapman
                                             YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                             M. Blake Cleary (No. 3614)
                                             Jaime Luton Chapman (No. 4936)
                                             Shane M. Reil (No. 6195)
                                             Rodney Square
                                             1000 North King Street
                                             Wilmington, Delaware 19801
                                             Telephone: (302) 571-6600
                                             Facsimile: (302) 571-1253

                                             -and-

                                             WEIL, GOTSHAL & MANGES LLP
                                             Matthew S. Barr (pro hac vice pending)
                                             Ronit J. Berkovich (pro hac vice pending)
                                             Lauren Tauro (pro hac vice pending)
                                             767 Fifth Avenue
                                             New York, New York 10153
                                             Telephone: (212) 310-8000
                                             Facsimile: (212) 310-8007

                                             Proposed Attorneys for Debtors
                                             and Debtors in Possession




                                                         12
01:24256495.1
                Case 19-10497-CSS   Doc 2   Filed 03/11/19   Page 13 of 20



                                      Exhibit A

                                    Proposed Order




01:24256495.1
                         Case 19-10497-CSS              Doc 2      Filed 03/11/19   Page 14 of 20



                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         CHEF HOLDINGS, INC.                                          :
                                                                      :   Case No. 19-10490 (___)
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         CHEF INTERMEDIATE, INC.                                      :
                                                                      :   Case No. 19-10491 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         CTIF HOLDINGS, INC.                                          :
                                                                      :   Case No. 19-10492 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         CHEF INVESTMENT, LLC                                         :
                                                                      :   Case No. 19-10493 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x




01:24256495.1
                         Case 19-10497-CSS              Doc 2      Filed 03/11/19   Page 15 of 20



         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         CTI FOODS ACQUISITION LLC                                    :
                                                                      :   Case No. 19-10494 (___)
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         CTI FOODS HOLDING CO., LLC                                   :
                                                                      :   Case No. 19-10495 (___)
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         CTI SERVICES CORPORATION                                     :
                                                                      :   Case No. 19-10496 (___)
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         CTI FOODS, LLC                                               :
                                                                      :   Case No. 19-10497 (___)
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x




01:24256495.1

                                                                  2
                         Case 19-10497-CSS              Doc 2      Filed 03/11/19   Page 16 of 20



         ------------------------------------------------------------ x
         In re                                                        :
                                                                      :
         CTI ARLINGTON, LLC                                           :   Chapter 11
                                                                      :
                                                                      :   Case No. 19-10498 (___)
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
                                                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         CTI SAGINAW I, LLC                                           :
                                                                      :   Case No. 19-10499 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         CTI KING OF PRUSSIA, LLC                                     :
                                                                      :   Case No. 19-10500 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         CTI-SSI FOOD SERVICES, LLC                                   :
                                                                      :   Case No. 19-10501 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x




01:24256495.1

                                                                  3
                         Case 19-10497-CSS              Doc 2      Filed 03/11/19   Page 17 of 20



         ------------------------------------------------------------ x
         In re                                                        :
                                                                      :   Chapter 11
         S & S FOODS LLC                                              :
                                                                      :   Case No. 19-10502 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re:                                                       :
                                                                      :   Chapter 11
         CUSTOM FOOD                                                  :
         PRODUCTS HOLDINGS, LLC                                       :   Case No. 19-10503 (___)
                                                                      :
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         CUSTOM FOOD PRODUCTS, LLC                                    :
                                                                      :   Case No. 19-10504 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x
                                                                      :
         In re                                                        :
                                                                      :   Chapter 11
         LIGURIA HOLDINGS, INC.                                       :
                                                                      :   Case No. 19-10505 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x




01:24256495.1

                                                                  4
                         Case 19-10497-CSS              Doc 2      Filed 03/11/19    Page 18 of 20



         ------------------------------------------------------------ x
         In re                                                        :
                                                                      :   Chapter 11
         LIGURIA FOODS, INC.                                          :
                                                                      :   Case No. 19-10506 (___)
                                                                      :
                           Debtor.                                    :
                                                                      :
         Tax I.D. No. XX-XXXXXXX                                      :
         ------------------------------------------------------------ x

                           ORDER PURSUANT TO FED R. BANKR. P. 1015(b)
                      DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

                          Upon the motion, dated March 11, 2019 (the “Motion”)1 of CTI Foods, LLC and

         its affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in

         possession (collectively, the “Debtors”), for entry of an order pursuant to Bankruptcy Rule

         1015(b) and Local Rule 1015-1 directing joint administration of their chapter 11 cases, all as

         more fully set forth in the Motion; and upon the consideration of the Percy Declaration; and this

         Court having jurisdiction to consider the Motion and the relief requested therein pursuant to 28

         U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference from the United States

         District Court for the District of Delaware, dated February 29, 2012; and consideration of the

         Motion and the requested relief being a core proceeding pursuant to 28 U.S.C. § 157(b); and

         venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and

         proper notice of the Motion having been provided; and such notice having been adequate and

         appropriate under the circumstances, and it appearing that no other or further notice need be

         provided; and this Court having reviewed the Motion; and upon any hearing held on the Motion;

         and all objections, if any, to the Motion have been withdrawn, resolved, or overruled; and this

         Court having determined that the legal and factual bases set forth in the Motion establish just

         1
          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
         Motion.
01:24256495.1

                                                                  5
                         Case 19-10497-CSS              Doc 2      Filed 03/11/19        Page 19 of 20



         cause for the relief granted herein; and it appearing that the relief requested in the Motion is in

         the best interests of the Debtors and their respective estates and creditors; and upon all of the

         proceedings had before this Court and after due deliberation and sufficient cause appearing

         therefor,

                          IT IS HEREBY ORDERED THAT

                          1.       The Motion is granted as set forth herein.

                          2.       The above-captioned chapter 11 cases are consolidated for procedural

         purposes only and shall be jointly administered by the Court under Case No. 19-10497 ( ).

                          3.       Nothing contained in this Order shall be deemed or construed as directing

         or otherwise affecting the substantive consolidation of any of the above-captioned cases, the

         Debtors, or the Debtors’ estates.

                          4.        The caption of the jointly administered cases should read as follows:

                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

         ------------------------------------------------------------ x
         In re                                                        :       Chapter 11
                                                                      :
         CTI FOODS, LLC, et al.,                                      :       Case No. 19-10497 (           )
                                                                      :
                                                                      :
                           Debtors. 1                                 :       (Jointly Administered)
         ------------------------------------------------------------ x

         1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, as applicable, are: Chef Holdings, Inc. (8070); Chef Intermediate, Inc. (8653); CTIF Holdings, Inc. (0046);
         Chef Investment, LLC (3918); CTI Foods Acquisition LLC (3918); CTI Foods Holding Co., LLC (8320); CTI
         Services Corporation (2331); CTI Foods, LLC (3673); CTI Arlington, LLC (6103); CTI Saginaw I, LLC (6133);
         CTI King of Prussia, LLC (4771); CTI-SSI Food Services, LLC (8322); S & S Foods LLC (7447); Custom Food
         Products Holdings, LLC (2697); Custom Food Products, LLC (0697); Liguria Holdings, Inc. (8652); and Liguria
         Foods, Inc. (6446). The Debtors’ mailing address is 504 Sansom Blvd., Saginaw, Texas 76179.

                          5.       A docket entry shall be made in each of the above-captioned cases (except

         the chapter 11 case of CTI Foods, LLC) substantially as follows:
01:24256495.1

                                                                  6
                       Case 19-10497-CSS           Doc 2   Filed 03/11/19     Page 20 of 20



                        An order has been entered in this case directing the procedural
                        consolidation and joint administration of the chapter 11 cases of
                        CTI Foods, LLC, et al. The docket in Case No. 19-10497 ( )
                        should be consulted for all matters affecting this case.

                        6.      The Debtors are authorized to take all actions necessary or appropriate to

         carry out the relief granted in this Order.

                        7.      This Court shall retain jurisdiction to hear and determine all matters

         arising from or related to the implementation, interpretation, or enforcement of this Order.


         Dated:                          , 2019
                  Wilmington, Delaware


                                                       UNITED STATES BANKRUPTCY JUDGE




01:24256495.1

                                                           7
